UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
NO. 5:18-CR-00452-FL

ALEXEY VLADIMIROVICH TIMOFEEV,
OLESYA YURYEVNA TIMOFEEVA,
ALEXEI IZAILEVICH POLYAKOV, a/k/a
ALEX NORKA

UNITED STATES OF AMERICA )
) ORDER TO UNSEAL
v. ) SUPERSEDING INDICTMENT
)
LEONID ISAAKOVICH TEYF, )
TATYANA ANATOLYEVNA TEYF, )
a/k/a TATIANA TEYF, )
)
)
)
)

Upon motion of the United States of America, and for good cause shown, the
sealed Superseding Indictment returned bythe Grand Jury for the Eastern District
of North Carolina on December 6, 2018, is hereby ORDERED to be unsealed by the
Clerk of the United States Court for the Eastern District of NorthCarolina.

This day of December, 2018.

 

JAMES E. GATES
United States Magistrate Judge

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